Case 1:17-cr-00008-WJM Document 206 Filed 01/30/19 USDC Colorado Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                              Judge William J. Martínez

Date:             January 30, 2019
Courtroom Deputy: Anna Frank
Court Reporter:   Mary George


Criminal Action No. 17-cr-00008-WJM                  Counsel:

UNITED STATES OF AMERICA,                            Jeremy Sibert
                                                     Robert Brown
      Plaintiff,

v.

GUY JEAN-PIERRE,                                     Thomas Goodreid
                                                     Clifford Barnard
      Defendant.


                               COURTROOM MINUTES


Jury Trial: Day Twelve

9:03 a.m.     Court in session. Jury present.

Court’s comments regarding closing arguments.

9:05 a.m.     Government’s closing argument by Mr. Sibert.

9:57 a.m.     Court in recess.
10:09 a.m.    Court in session. Jury present.

10:10 a.m.    Defendant’s closing argument by Mr. Barnard.

10:56 a.m.    Government’s closing rebuttal argument by Mr. Sibert.

Discussion held regarding the alternate juror.

Court addresses and releases alternate Juror 100345726.

ORDERED: Lunches are to be provided to the jury beginning January 30, 2019,
         and for the duration of deliberations.
Case 1:17-cr-00008-WJM Document 206 Filed 01/30/19 USDC Colorado Page 2 of 2




11:24 a.m.    Court Security Officer sworn.

11:25 a.m.    Jury is excused.

Discussion held regarding trial schedule. Should the jury’s deliberation continue beyond
today, proceedings will be held in courtroom 702.

11:28 a.m.    Court in recess.
2:24 p.m.     Court in session. Jury is not present.

Discussion held regarding question from the jury.

2:31 p.m.     Court in recess.
3:39 p.m.     Court in session. Jury is not present.

Probation officer Paige Meador present.

Court informs counsel that a note has been tendered to the Court indicating that the jury
has reached a verdict.

3:41 p.m.     Jury present.

Verdict tendered to the Court.

Court reads verdict and polls the jury.

Court’s concluding remarks to the jury.

3:49 p.m.     Jury is excused.

Discussion held regarding sentencing.

ORDERED: Sentencing is set for July 10, 2019 at 9:30 a.m.

ORDERED: All outstanding motions denied as moot.

3:55 p.m.     Court in recess.     Trial concluded. Defendant continued on bond.

Total time in court: 2:36




                                          Page 2 of 2
